            Case 19-50091                    Doc 14           Filed 05/21/19 Entered 05/21/19 16:59:57                                       Desc Main
                                                               Document     Page 1 of 44

  Fill in this information to identify your case and this filing:
  Debtor 1               Jeffery                     Roland               Moore
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number            19-50091                                                                                                   Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
7574 FM 114                                                Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the             Current value of the
                                                               Condominium or cooperative                    entire property?                 portion you own?
Clarksville                      TX       75426                Manufactured or mobile home                               $418,669.00                  $418,669.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Red River                                                                                                    entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Fee Simple
                                                           Who has an interest in the property?
A0501 LEVINS, JAMES MAP L-7 TC-03
                                                           Check one.
178.71 ACRES & A0501 LEVINS,
                                                               Debtor 1 only                                      Check if this is community property
JAMES MAP L-7 1 ACRE
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $418,669.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 1
           Case 19-50091                Doc 14           Filed 05/21/19 Entered 05/21/19 16:59:57                                          Desc Main
                                                          Document     Page 2 of 44

Debtor 1         Jeffery Roland Moore                                                                Case number (if known)         19-50091

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Chevrolet                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    2500
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2017
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 28,000                                 At least one of the debtors and another            $40,000.00                            $40,000.00
Other information:
2017 Chevrolet 2500 (28,000 miles)                          Check if this is community property
                                                            (see instructions)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Chevrolet                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    2500
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2011
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 170,000                                At least one of the debtors and another                $300.00                               $300.00
Other information:
2011 Chevrolet 2500 (approx. 170,000                        Check if this is community property
miles)                                                      (see instructions)
burned in December 2018 fire
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     boat, motor & trailer Check one.                                                 amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    pontoon
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2004
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Other information:                                          At least one of the debtors and another            $10,000.00                            $10,000.00
boat, motor and trailer
                                                            Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $50,300.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                               $2,100.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                 $150.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
            Case 19-50091                             Doc 14                Filed 05/21/19 Entered 05/21/19 16:59:57                                                                   Desc Main
                                                                             Document     Page 3 of 44

Debtor 1          Jeffery Roland Moore                                                                                                  Case number (if known)                    19-50091

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............
                                1 rifle                                                                                                                                                                           $300.00
                                          1 shotgun
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                clothes                                                                                                                                                                           $500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $3,050.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
           Case 19-50091                       Doc 14            Filed 05/21/19 Entered 05/21/19 16:59:57                           Desc Main
                                                                  Document     Page 4 of 44

Debtor 1         Jeffery Roland Moore                                                                 Case number (if known)   19-50091

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Checking account:                Checking account First Federal Community Bank                                              $146.88
            17.2.       Checking account:                Checking account First Federal Community Bank B & K Farms-                               $33,750.62
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           401(k) or similar plan: County/State Retirement & Firefighter retirement                                Unknown
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                         Schedule A/B: Property                                                    page 4
           Case 19-50091                        Doc 14              Filed 05/21/19 Entered 05/21/19 16:59:57                     Desc Main
                                                                     Document     Page 5 of 44

Debtor 1        Jeffery Roland Moore                                                               Case number (if known)    19-50091

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                   Federal:
           about them, including whether
           you already filed the returns                                                                                    State:
           and the tax years.....................................
                                                                                                                            Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                      Alimony:

                                                                                                               Maintenance:

                                                                                                               Support:

                                                                                                               Divorce settlement:

                                                                                                               Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                                Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............
                                             claim/lawsuit against Farm Bureau                                                                   Unknown




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 5
            Case 19-50091                      Doc 14             Filed 05/21/19 Entered 05/21/19 16:59:57                                                  Desc Main
                                                                   Document     Page 6 of 44

Debtor 1         Jeffery Roland Moore                                                                                Case number (if known)             19-50091

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $33,897.50


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................
                              tools                                                                                                                                          $500.00

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $500.00



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
            Case 19-50091                       Doc 14            Filed 05/21/19 Entered 05/21/19 16:59:57                                                  Desc Main
                                                                   Document     Page 7 of 44

Debtor 1          Jeffery Roland Moore                                                                               Case number (if known)             19-50091


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................
                     12 head cattle                                                                                                                                        $5,000.00

48. Crops--either growing or harvested

            No
            Yes. Give specific           growing crops, wheat for cattle                                                                                                        $0.00
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................
                     See continuation page(s).                                                                                                                            $97,600.00

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................   $102,600.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             Farm Equipment of Harry Moore, described in Order Confirming Debtors' First Amended
             Chapter 12 Plan Of Reorganization (ECF No. 107), Debtors' First Amended Plan (ECF No. 99) &
             Order Granting Debtors' Amended Motion For Valuation (ECF No. 109, in case No. 18-50038,
             Harry R. Moore and Linda C. Moore, Debtors (TXEB)                                                                                                           $134,500.00
             Farm Equipment of Harry Moore, described in Debtors' First Amended Plan (3) Class Three:
             People's Bank Surrendered equipment (ECF No. 99) and Order Confirming Debtors' First
             Amended Chapter 12 Plan Of Reorganization (ECF No. 107)

             Value source: Amended Claim 20-2 value of property $323,000, less $134,500 secured claim
             in Harry Moore chapter 12, Case No. 18-50038; Harry R. Moore (TXEB), less $119,100 total
             value of all propery stated in Application and Affidavit for Writ of Sequestration (Peoples
             Bank vs. Jeffery R. Moore, see SOFA #9).                                                                                                                     $69,400.00


Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
             Case 19-50091                         Doc 14              Filed 05/21/19 Entered 05/21/19 16:59:57                                                         Desc Main
                                                                        Document     Page 8 of 44

Debtor 1           Jeffery Roland Moore                                                                                       Case number (if known)                19-50091


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                  $203,900.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $418,669.00

56. Part 2: Total vehicles, line 5                                                                                  $50,300.00

57. Part 3: Total personal and household items, line 15                                                               $3,050.00

58. Part 4: Total financial assets, line 36                                                                         $33,897.50

59. Part 5: Total business-related property, line 45                                                                     $500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                     $102,600.00

61. Part 7: Total other property not listed, line 54                                               +              $203,900.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $394,247.50               property total                 +          $394,247.50


63. Total of all property on Schedule A/B.                                                                                                                                                  $812,916.50
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
           Case 19-50091         Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57                      Desc Main
                                                Document     Page 9 of 44

Debtor 1     Jeffery Roland Moore                                                 Case number (if known)   19-50091


6.   Household goods and furnishings (details):

     living room                                                                                                         $500.00

     dining room                                                                                                         $400.00

     3 bedrooms                                                                                                          $600.00

     Washer & dryer                                                                                                      $100.00

     refrigerator                                                                                                        $200.00

     stove/oven                                                                                                          $250.00

     books & pictures                                                                                                     $50.00

7.   Electronics (details):

     3-TVs                                                                                                               $100.00

     DVD                                                                                                                  $50.00

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade (details):

     1999 Mack Truck                                                                                                  $20,600.00

     1994 42' Wilson Grain Trailer                                                                                    $13,000.00

     2008 Outback Guidance System                                                                                      $1,500.00

     4720 John Deere Sprayer                                                                                          $50,000.00

     2001 32' Gooseneck Trailer                                                                                        $5,000.00

     John Deere 980 Cultivator                                                                                         $3,500.00

     2000 Wylie Sprayer Boom                                                                                           $4,000.00




Official Form 106A/B                                     Schedule A/B: Property                                             page 9
          Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                                Desc Main
                                                    Document     Page 10 of 44

 Fill in this information to identify your case:
 Debtor 1            Jeffery              Roland                 Moore
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         19-50091                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $418,669.00                 $392,978.00         Const. art. 16 §§ 50, 51, Texas
7574 FM 114                                                                       100% of fair market     Prop. Code §§ 41.001-.002
A0501 LEVINS, JAMES MAP L-7 TC-03                                                 value, up to any
178.71 ACRES & A0501 LEVINS, JAMES                                                applicable statutory
MAP L-7 1 ACRE                                                                    limit
Line from Schedule A/B: 1.1

Brief description:                                         $40,000.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2017 Chevrolet 2500 (approx. 28,000                                               100% of fair market     42.002(a)(9)
miles)                                                                            value, up to any
2017 Chevrolet 2500 (28,000 miles)                                                applicable statutory
Line from Schedule A/B: 3.1                                                       limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
           Case 19-50091          Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                        Desc Main
                                                  Document     Page 11 of 44

Debtor 1      Jeffery Roland Moore                                                   Case number (if known)   19-50091

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
 2011 Chevrolet 2500 (approx. 170,000                                        100% of fair market    42.002(a)(3)
miles)                                                                       value, up to any
burned in December 2018 fire                                                 applicable statutory
Line from Schedule A/B: 3.2                                                  limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
living room                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
dining room                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $600.00           Tex. Prop. Code §§ 42.001(a),
3 bedrooms                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Washer & dryer                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
refrigerator                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
stove/oven                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
3-TVs                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
DVD                                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
           Case 19-50091          Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                        Desc Main
                                                  Document     Page 12 of 44

Debtor 1      Jeffery Roland Moore                                                   Case number (if known)   19-50091

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
1 rifle                                                                      100% of fair market    42.002(a)(7)
1 shotgun                                                                    value, up to any
Line from Schedule A/B:    10                                                applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
clothes                                                                      100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $33,750.62               $33,750.62          7 U.S.C. § 1509
Checking account First Federal Community                                     100% of fair market
Bank B & K Farms-                                                            value, up to any
Line from Schedule A/B: 17.2                                                 applicable statutory
                                                                             limit

Brief description:                                      Unknown                     $0.00           Tex. Gov't. Code.§ 811.005
County/State Retirement & Firefighter                                        100% of fair market
retirement                                                                   value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      Unknown                     $0.00           Tex. Prop. Code §§ 42.001(a),
claim/lawsuit against Farm Bureau                                            100% of fair market    42.002(a)(3)
                                                                             value, up to any
Line from Schedule A/B:    33
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
tools                                                                        100% of fair market    42.002(a)(4)
                                                                             value, up to any
Line from Schedule A/B:    40
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,000.00                $5,000.00          Tex. Prop. Code §§ 42.001(a),
12 head cattle                                                               100% of fair market    42.002(a)(10)
                                                                             value, up to any
Line from Schedule A/B:    47
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
growing crops, wheat for cattle                                              100% of fair market    42.002(a)(10)
                                                                             value, up to any
Line from Schedule A/B:    48
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $50,000.00                   $0.00           Tex. Prop. Code §§ 42.001(a),
4720 John Deere Sprayer                                                      100% of fair market    42.002(a)(3)
                                                                             value, up to any
Line from Schedule A/B:    49
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
           Case 19-50091          Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                        Desc Main
                                                  Document     Page 13 of 44

Debtor 1      Jeffery Roland Moore                                                   Case number (if known)   19-50091

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,500.00                $3,500.00          Tex. Prop. Code §§ 42.001(a),
John Deere 980 Cultivator                                                    100% of fair market    42.002(a)(3)
                                                                             value, up to any
Line from Schedule A/B:    49
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
          Case 19-50091           Doc 14    Filed 05/21/19 Entered 05/21/19 16:59:57                 Desc Main
                                             Document     Page 14 of 44

                                     UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
                                            TEXARKANA DIVISION
 IN RE:   Jeffery Roland Moore                                              CASE NO      19-50091

                                                                            CHAPTER      7

                                           TOTALS BY EXEMPTION LAW


Exemption Law                          Husband       Wife      Joint      Community       N/A         Exemption       Market
                                                                                                        Total         Value
                                                                                                                       Total

7 U.S.C. § 1509                              $0.00     $0.00      $0.00        $0.00    $33,750.62     $33,750.62    $33,750.62

Const. art. 16 §§ 50, 51, Texas              $0.00     $0.00      $0.00        $0.00   $392,978.00    $392,978.00   $418,669.00
Prop. Code §§ 41.001-.002

Tex. Gov't. Code.§ 811.005                   $0.00     $0.00      $0.00        $0.00         $0.00          $0.00         $0.00

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00     $2,200.00      $2,200.00     $2,200.00
42.002(a)(1)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00     $5,000.00      $5,000.00     $5,000.00
42.002(a)(10)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00     $3,800.00      $3,800.00    $53,800.00
42.002(a)(3)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00      $500.00        $500.00       $500.00
42.002(a)(4)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00      $500.00        $500.00       $500.00
42.002(a)(5)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00      $300.00        $300.00       $300.00
42.002(a)(7)

Tex. Prop. Code §§ 42.001(a),                $0.00     $0.00      $0.00        $0.00         $0.00          $0.00    $40,000.00
42.002(a)(9)
            Case 19-50091                Doc 14       Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                       Document     Page 15 of 44

  Fill in this information to identify your case:
  Debtor 1             Jeffery               Roland                 Moore
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number          19-50091                                                                                        Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $42,891.00              $40,000.00            $2,891.00
City National Bank
Creditor's name
                                                 2017 Chevrolet 2500 diesel
201 Connally St
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Sulphur Springs TX               75482               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Installment Sales Contract
   to a community debt
Date debt was incurred           04/2019         Last 4 digits of account number        4     6    9    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $42,891.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
           Case 19-50091                Doc 14     Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                    Document     Page 16 of 44

Debtor 1      Jeffery Roland Moore                                                        Case number (if known)      19-50091

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $25,000.00             $418,669.00
George Sunkel Foundation                      house & land
Creditor's name
6401 Castlemere Dr.
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Plano                   TX      75093             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Money Loaned
   to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                           $262,639.15             $248,000.00        $14,639.15
Peoples National Bank
Creditor's name
                                              99mack,94 42' tlr,00 wylie,08
35 South Plaza                                outback,01gsnck BUSI
Number     Street
PO Box 1750
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Paris                   TX      75461             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Unknown Loan Type
   to a community debt
Date debt was incurred          12/29/2010    Last 4 digits of account number        1     9    5    3
1999 Mack Truck $20,600
1994 42' Wilson Grain Trailer $13,000
2000 Wylie Sprayer Boom $4,000
2008 Outback Guidance System $1,500
2001 32' Gooseneck Trailer $5,000
total:$44,100

(Value source: Application and Affidavit for Writ of Sequestration, Case no. 88116, Peoples Bank vs. R. Jeffery Moore, 62nd
Judicial District, Lamar County, Texas).




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $287,639.15

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
           Case 19-50091                Doc 14     Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                    Document     Page 17 of 44

Debtor 1      Jeffery Roland Moore                                                        Case number (if known)      19-50091

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $50,000.00              $50,000.00
Peoples National Bank                         4720 John Deere Sprayer
Creditor's name
35 South Plaza                                BUSINESS DEBT
Number     Street
PO Box 1750
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Paris                   TX      75461             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Unknown Loan Type
   to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                                $691.00            $418,669.00
Red River Tax Appraisal Office
Creditor's name
                                              ad valorem taxes
P.O. Box 461
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Clarksville             TX      75426             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Taxes
   to a community debt
Date debt was incurred          2018          Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $50,691.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
           Case 19-50091                Doc 14     Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                    Document     Page 18 of 44

Debtor 1      Jeffery Roland Moore                                                        Case number (if known)      19-50091

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $13,857.00              $10,000.00         $3,857.00
Texar Fcu                                     2004 Boat, motor and trailer
Creditor's name
2301 Richmond Rd
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Texarkana               TX      75503             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Recreational
   to a community debt
Date debt was incurred          12/2015       Last 4 digits of account number        0     0    0    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $13,857.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $395,078.15

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
           Case 19-50091           Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57                           Desc Main
                                                  Document     Page 19 of 44

Debtor 1       Jeffery Roland Moore                                                    Case number (if known)    19-50091

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        62nd Judicial District/Clerk                                           On which line in Part 1 did you enter the creditor?      2.3
        Name
        119 N. Main St.                                                        Last 4 digits of account number
        Number       Street




        Paris                                    TX      75460
        City                                     State   ZIP Code

  2
        Don Biard, Esq.                                                        On which line in Part 1 did you enter the creditor?      2.3
        Name
        McLaughlin Hutchison & Biard, LLP                                      Last 4 digits of account number
        Number       Street
        38 First Street Northwest


        Paris                                    TX      75460
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5
           Case 19-50091                 Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                             Desc Main
                                                         Document     Page 20 of 44

  Fill in this information to identify your case:
  Debtor 1             Jeffery               Roland                 Moore
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number          19-50091                                                                                         Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number       Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State   ZIP Code
Who incurred the debt?        Check one.                    Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
            Case 19-50091               Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                                 Desc Main
                                                        Document     Page 21 of 44

Debtor 1       Jeffery Roland Moore                                                             Case number (if known)      19-50091

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
Agco Finance                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
8001 Birchwood Ct.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Johnston                        IA      50131
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Other
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
Bice, LLC                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
10 W. Main St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Ardmore                         OK      73401
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Contract/Lease
Is the claim subject to offset?
     No
     Yes
Lease of 573 acres




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
            Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                             Desc Main
                                                      Document     Page 22 of 44

Debtor 1       Jeffery Roland Moore                                                        Case number (if known)       19-50091

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                $9,482.00
First Ntnl Bk Tom Bean                                   Last 4 digits of account number      0 0        3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2016
109 Britton St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tom Bean                      TX      75489
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured BUSINESS DEBT
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $135,038.46
GreenPoint Ag                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
3350 Players Club Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Memphis                       TN      38125
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment BUSINESS DEBT
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $1,430.00
Jefferson Capital Syst                                   Last 4 digits of account number      0 0        0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2016
16 Mcleland Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Cloud                   MN      56303
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
            Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                             Desc Main
                                                      Document     Page 23 of 44

Debtor 1       Jeffery Roland Moore                                                        Case number (if known)       19-50091

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                Unknown
John Deere Financial, f.s.b.                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Johnston                      IA      50131-6600
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency BUSINESS DEBT
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                    $0.00
John Mercy                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Mercy Carter LLP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1724 Galleria Oaks Dr.                                       Contingent
                                                             Unliquidated
                                                             Disputed
Texarkana                     TX      75503
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                              $64,759.00
Monsanto Company                                         Last 4 digits of account number       7    8    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 204070
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75320-4070
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Other BUSINESS DEBT
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
            Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                             Desc Main
                                                      Document     Page 24 of 44

Debtor 1       Jeffery Roland Moore                                                        Case number (if known)       19-50091

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                              $76,642.00
PHI Financial Services                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7100 NW 62nd Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Johnston                      IA      50131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Other BUSINESS DEBT
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $1,539.00
Portfolio Recov Assoc                                    Last 4 digits of account number      2 7        8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2016
120 Corporate Blvd Ste 100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                  $174.00
Syncb/jewelry Accents                                    Last 4 digits of account number      9 1        2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2004
C/o Po Box 965036
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
            Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                             Desc Main
                                                      Document     Page 25 of 44

Debtor 1       Jeffery Roland Moore                                                        Case number (if known)       19-50091

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                  $977.00
Texar Fcu                                                Last 4 digits of account number      0 0        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
2301 Richmond Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Texarkana                     TX      75503
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit Related
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                $1,562.00
The Bureaus Inc                                          Last 4 digits of account number      1 7        5    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
650 Dundee Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Northbrook                    IL      60062
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
           Case 19-50091                Doc 14      Filed 05/21/19 Entered 05/21/19 16:59:57                            Desc Main
                                                     Document     Page 26 of 44

Debtor 1       Jeffery Roland Moore                                                        Case number (if known)    19-50091

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


102nd District Clerk                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
400 N. Walnut St.                                           Line    4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Clarksville                     TX       75426
City                            State    ZIP Code


Adendroth and Russell, PC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2560 73rd St.                                               Line    4.9 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Urbandale                       IA       50322
City                            State    ZIP Code


Ally Financial                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.o. Box 380901                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Automobile                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    8    3    7
Bloomington                     MN       55438
City                            State    ZIP Code


Amex                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 297871                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       8    3    7    3
Fort Lauderdale                 FL       33329
City                            State    ZIP Code


Barnett & Garcia PLLC                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3821 Juniper Trace, Ste 108                                 Line    4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX       78738
City                            State    ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 7
           Case 19-50091          Doc 14      Filed 05/21/19 Entered 05/21/19 16:59:57                          Desc Main
                                               Document     Page 27 of 44

Debtor 1     Jeffery Roland Moore                                                  Case number (if known)    19-50091

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Callan C. Searcy                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Searcy & Searcy                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Other
PO Box 3929                                                                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Longview                  TX       75606
City                      State    ZIP Code


Capital One Bank Usa N                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15000 Capital One Dr                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number       3    9    1    4
Richmond                  VA       23238
City                      State    ZIP Code


Christina I. Thompson                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Phil Watson PC                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Other
535 E. Army Post Road                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Des Moines                IA       50315
City                      State    ZIP Code


GreenPoint Ag LLC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1616 East 9th St                                    Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Texarkana                 AR       71854
City                      State    ZIP Code


Holly Moore                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
160 N. Austin St.                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Other                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Avery                     TX       75554
City                      State    ZIP Code


Monsanto Company                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn. Seed Customer Operations                      Line    4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
800 North Lindbergh                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Saint Louis               MO       63167
City                      State    ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8
           Case 19-50091           Doc 14      Filed 05/21/19 Entered 05/21/19 16:59:57                          Desc Main
                                                Document     Page 28 of 44

Debtor 1      Jeffery Roland Moore                                                  Case number (if known)    19-50091

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

PHI Financial Services                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1050                                          Line    4.9 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Johnston                   IA       50131
City                       State    ZIP Code


R. Gary Nutter                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Dunn Nutter & Morgan, LLP                            Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
3512 Texas Blvd.                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Texarkana                  TX       75503-3250
City                       State    ZIP Code


Red River Empl Fcu                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Pob 5909                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Automobile                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    1    4    5
Texarkana                  TX       75504
City                       State    ZIP Code


Sylvia Greiner                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4304 FM 114                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Other                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Clarksville                TX       75426
City                       State    ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 9
           Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                            Desc Main
                                                     Document     Page 29 of 44

Debtor 1       Jeffery Roland Moore                                                    Case number (if known)        19-50091

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $291,603.46


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $291,603.46




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 10
           Case 19-50091              Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                      Document     Page 30 of 44

 Fill in this information to identify your case:
 Debtor 1             Jeffery               Roland                 Moore
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          19-50091                                                                                        Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Bice, LLC                                                                    Lease of 573 acres
          Name                                                                         Contract to be ASSUMED
          10 W. Main St.
          Number    Street



          Ardmore                                      OK        73401
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
          Case 19-50091                  Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                                 Desc Main
                                                         Document     Page 31 of 44

 Fill in this information to identify your case:
 Debtor 1              Jeffery                Roland                      Moore
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number           19-50091                                                                                             Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Holly Moore
                Name of your spouse, former spouse, or legal equivalent
                160 N. Austin St.
                Number          Street


                Avery                                           TX              75554
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Harry Moore
         Name                                                                                          Schedule D, line
         910 FM 1159                                                                                   Schedule E/F, line        4.4
         Number        Street
                                                                                                       Schedule G, line

         Clarksville                                    TX                75426                  GreenPoint Ag
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
           Case 19-50091         Doc 14   Filed 05/21/19 Entered 05/21/19 16:59:57                         Desc Main
                                           Document     Page 32 of 44

Debtor 1      Jeffery Roland Moore                                         Case number (if known)       19-50091

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt

                                                                               Check all schedules that apply:

3.2    Harry Moore
       Name                                                                        Schedule D, line      2.3
       910 FM 1159                                                                 Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Clarksville                        TX          75426                    Peoples National Bank
       City                               State       ZIP Code


3.3    Harry Moore
       Name                                                                        Schedule D, line      2.6
       910 FM 1159                                                                 Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Clarksville                        TX          75426                    Texar Fcu
       City                               State       ZIP Code


3.4    Holly Moore
       Name                                                                        Schedule D, line
       160 N. Austin St.                                                           Schedule E/F, line
       Number        Street
                                                                                                           4.4
                                                                                   Schedule G, line

       Avery                              TX          75554                    GreenPoint Ag
       City                               State       ZIP Code




Official Form 106H                                Schedule H: Your Codebtors                                              page 2
           Case 19-50091                Doc 14       Filed 05/21/19 Entered 05/21/19 16:59:57                                    Desc Main
                                                      Document     Page 33 of 44

 Fill in this information to identify your case:
     Debtor 1              Jeffery               Roland                 Moore
                           First Name            Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                    An amended filing
     (Spouse, if filing)   First Name            Middle Name            Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF TEXAS
                                                                                                                 chapter 13 income as of the following date:
     Case number           19-50091
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status              Employed                                           Employed
      with information about                                           Not employed                                       Not employed
      additional employers.
                                        Occupation              Pct. 3 Commissioner
      Include part-time, seasonal,
      or self-employed work.            Employer's name         Red River County

      Occupation may include            Employer's address      Courthouse, Walnut St.
      student or homemaker, if it                               Number Street                                      Number Street
      applies.




                                                                Clarksville                  TX       75426
                                                                City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?         3.5 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $2,838.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $2,838.00




Official Form 106I                                             Schedule I: Your Income                                                                page 1
           Case 19-50091                       Doc 14              Filed 05/21/19 Entered 05/21/19 16:59:57                                            Desc Main
                                                                    Document     Page 34 of 44

Debtor 1        Jeffery Roland Moore                                                                                             Case number (if known)    19-50091
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $2,838.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $321.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.              $199.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.              $439.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $959.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $1,879.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify: Supplement (net)                                                                          8h. +              $57.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                 $57.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $1,936.00 +                      =                                                $1,936.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $1,936.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor projects farming income.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
           Case 19-50091                Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57                                 Desc Main
                                                       Document     Page 35 of 44

 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jeffery                Roland                 Moore                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           19-50091
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            14
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Son                                 12
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                     $50.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
            Case 19-50091            Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57                   Desc Main
                                                    Document     Page 36 of 44

Debtor 1      Jeffery Roland Moore                                                     Case number (if known)   19-50091
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $100.00
     6b. Water, sewer, garbage collection                                                           6b.                     $45.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $250.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $300.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                      $10.00
10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.                     $20.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $100.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.                   $200.00
     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1   City National Bank                                        17a.                   $829.00
     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
           Case 19-50091              Doc 14      Filed 05/21/19 Entered 05/21/19 16:59:57                              Desc Main
                                                   Document     Page 37 of 44

Debtor 1      Jeffery Roland Moore                                                             Case number (if known)    19-50091
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $1,904.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $1,904.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $1,936.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –               $1,904.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $32.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtor projects farming expenses.




 Official Form 106J                                         Schedule J: Your Expenses                                                   page 3
           Case 19-50091                       Doc 14              Filed 05/21/19 Entered 05/21/19 16:59:57                                                      Desc Main
                                                                    Document     Page 38 of 44

 Fill in this information to identify your case:
 Debtor 1                Jeffery                       Roland                        Moore
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number             19-50091                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $418,669.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $394,247.50
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                            $812,916.50
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $395,078.15
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $291,603.46
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $686,681.61




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $1,936.00
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                 $1,904.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
           Case 19-50091             Doc 14         Filed 05/21/19 Entered 05/21/19 16:59:57                            Desc Main
                                                     Document     Page 39 of 44

Debtor 1      Jeffery Roland Moore                                                         Case number (if known)     19-50091


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
         Case 19-50091            Doc 14          Filed 05/21/19 Entered 05/21/19 16:59:57                        Desc Main
                                                   Document     Page 40 of 44

 Fill in this information to identify your case:
 Debtor 1           Jeffery              Roland              Moore
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        19-50091                                                                                 Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jeffery Roland Moore                             X
        Jeffery Roland Moore, Debtor 1                         Signature of Debtor 2

        Date 05/21/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
           Case 19-50091                 Doc 14          Filed 05/21/19 Entered 05/21/19 16:59:57                 Desc Main
                                                          Document     Page 41 of 44

                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                        TEXARKANA DIVISION
  IN RE: Jeffery Roland Moore                                                              CASE NO       19-50091

                                                                                           CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                  Scheme Selected: State
                                                                Gross             Total          Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances          Equity               Exempt    Non-Exempt


1.      Real property                                    $418,669.00          $25,691.00   $392,978.00         $392,978.00            $0.00

3.      Motor vehicles (cars, etc.)                       $40,300.00          $42,891.00      $300.00               $300.00           $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00               $0.00         $0.00                $0.00           $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $2,100.00               $0.00     $2,100.00           $2,050.00         $50.00

7.      Electronics                                          $150.00               $0.00      $150.00               $150.00           $0.00

8.      Collectibles of value                                  $0.00               $0.00         $0.00                $0.00           $0.00

9.      Equipment for sports and hobbies                       $0.00               $0.00         $0.00                $0.00           $0.00

10.     Firearms                                             $300.00               $0.00      $300.00               $300.00           $0.00

11.     Clothes                                              $500.00               $0.00      $500.00               $500.00           $0.00

12.     Jewelry                                                $0.00               $0.00         $0.00                $0.00           $0.00

13.     Non-farm animals                                       $0.00               $0.00         $0.00                $0.00           $0.00

14.     Unlisted pers. and household items-                    $0.00               $0.00         $0.00                $0.00           $0.00
        incl. health aids

16.     Cash                                                   $0.00               $0.00         $0.00                $0.00           $0.00

17.     Deposits of money                                 $33,897.50               $0.00    $33,897.50          $33,750.62        $146.88

18.     Bonds, mutual funds or publicly                        $0.00               $0.00         $0.00                $0.00           $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00               $0.00         $0.00                $0.00           $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00               $0.00         $0.00                $0.00           $0.00
        instruments

21.     Retirement or pension accounts                         $0.00               $0.00         $0.00                $0.00           $0.00

22.     Security deposits and prepayments                      $0.00               $0.00         $0.00                $0.00           $0.00

23.     Annuities                                              $0.00               $0.00         $0.00                $0.00           $0.00

24.     Interests in an education IRA                          $0.00               $0.00         $0.00                $0.00           $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00               $0.00         $0.00                $0.00           $0.00

26.     Patents, copyrights, and other                         $0.00               $0.00         $0.00                $0.00           $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00               $0.00         $0.00                $0.00           $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00               $0.00         $0.00                $0.00           $0.00
           Case 19-50091                 Doc 14     Filed 05/21/19 Entered 05/21/19 16:59:57                       Desc Main
                                                     Document     Page 42 of 44

                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                    TEXARKANA DIVISION
  IN RE: Jeffery Roland Moore                                                               CASE NO       19-50091

                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                           Gross                  Total           Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00                $0.00           $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00         $0.00                $0.00           $0.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00                $0.00           $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00                $0.00           $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00                $0.00           $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00                $0.00           $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00                $0.00           $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00                $0.00           $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00                $0.00           $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,               $500.00                    $0.00      $500.00               $500.00           $0.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00         $0.00                $0.00           $0.00

42.     Interests in partnerships or                       $0.00                    $0.00         $0.00                $0.00           $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00                $0.00           $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00                $0.00           $0.00
        already listed

47.     Farm animals                                   $5,000.00                    $0.00     $5,000.00           $5,000.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00                $0.00           $0.00

49.     Farm/fishing equip., impl., mach.,            $88,600.00              $380,217.45     $3,500.00           $3,500.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00                $0.00           $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00                $0.00           $0.00
        not listed

53.     Any other property of any kind not            $69,400.00               $88,039.15         $0.00                $0.00           $0.00
        already listed

                    TOTALS:                          $659,416.50              $536,838.60   $439,225.50         $439,028.62        $196.88
            Case 19-50091              Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57                          Desc Main
                                                      Document     Page 43 of 44

                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                    TEXARKANA DIVISION
  IN RE: Jeffery Roland Moore                                                                 CASE NO        19-50091

                                                                                             CHAPTER         7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                      Lien               Equity

Real Property
(None)
Personal Property

boat, motor and trailer                                                                     $10,000.00              $13,857.00                    $0.00

2001 32' Gooseneck Trailer                                                                   $5,000.00              $93,039.15                    $0.00

2000 Wylie Sprayer Boom                                                                      $4,000.00              $18,639.15                    $0.00

Farm Equipment of Harry Moore, described in Order Confirming Debtors' First                $134,500.00             $262,639.15                    $0.00


                   TOTALS:                                                                 $153,500.00             $388,174.45                    $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien             Equity      Non-Exempt Amount

Real Property
(None)
Personal Property

books & pictures                                                               $50.00                             $50.00                     $50.00

Checking account First Federal Community Bank                                 $146.88                            $146.88                    $146.88


                   TOTALS:                                                    $196.88           $0.00            $196.88                    $196.88
       Case 19-50091             Doc 14        Filed 05/21/19 Entered 05/21/19 16:59:57            Desc Main
                                                Document     Page 44 of 44

                                       UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS
                                              TEXARKANA DIVISION
IN RE: Jeffery Roland Moore                                                       CASE NO   19-50091

                                                                                  CHAPTER   7

                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                              $659,416.50

       B. Gross Property Value of Surrendered Property                                           $153,500.00

       C. Total Gross Property Value (A+B)                                                       $812,916.50

       D. Gross Amount of Encumbrances (not including surrendered property)                      $536,838.60

       E. Gross Amount of Encumbrances on Surrendered Property                                   $388,174.45

       F. Total Gross Encumbrances (D+E)                                                         $925,013.05

       G. Total Equity (not including surrendered property) / (A-D)                              $439,225.50

       H. Total Equity in surrendered items (B-E)                                                        $0.00

       I. Total Equity (C-F)                                                                     $439,225.50

       J. Total Exemptions Claimed                                                               $439,028.62

       K. Total Non-Exempt Property Remaining (G-J)                                                    $196.88
